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                                                                                                              November 3, 2020


                                Re:       United States v. Michael Del Villar, 20-cr-295 (VEC)

            The Honorable Valerie E. Caproni
            United States District Judge
            United States District Court for the Southern District of New York
            Thurgood Marshall United States Courthouse
            40 Foley Square
            New York, NY 10007

            Dear Judge Caproni,

                    On behalf of the defendant Michael Del Villar, I write respectfully to request permission
            to redact certain information in the Exhibits to the Declaration of Samantha Lawson in Support
            of Michael Del Villar’s Motion to Suppress Evidence (“Lawson Declaration”), which contain
            “sensitive information” as defined in the Southern District of New York Electronic Case and
            Filing Rules & Instructions (“SDNY Filing Rules”), Section 21 (Privacy and Public Access to
            ECF Cases) and as identified in Federal Rule of Criminal Procedure 49.1(a)(5) (Privacy
            Protection for Filings Made with the Court), and other privacy concerns. The Government and
            counsel for Enrique Rosado consent to this request.

                         The justification and location of the proposed redactions are outlined below.

                            1. The home address of a defendant

                    Federal Rule of Criminal Procedure 49.1(a)(5) states that only the city and state of an
            individual’s home address should be included in a filing. Fed. R. Crim. P. 49.1(a)(5). The
            SDNY Filing Rules also specify that the home address of a criminal defendant is considered
            “sensitive information” and should be redacted. SDNY Filing Rules, Section 21.3.
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       The full address of a defendant is included at the following citation and we respectfully
request its redaction:

       Lawson Declaration, Exhibit 41 at USAO_010.

             2. The license plate number of a defendant

        The SDNY Filing Rules state that “caution should be exercised when filing documents
that contain . . . [p]ersonal identifying numbers (PIN#’s)” such as driver’s license numbers. As
with a driver’s license number, a license plate and car registration is associated with an
individual and can be used to locate their home address and other sensitive personal information.

       The license plate of a defendant is included at the following citations and we respectfully
request its redaction:

       Lawson Declaration, Exhibit 4 at USAO_010, USAO_013;

       Lawson Declaration, Exhibit 5 at USAO_128.

             3. The cellphone number of a defendant

       As noted, the SDNY Filing Rules state that caution should be exercised when filing
documents that contain “personal identifying numbers.” A cellphone number is clearly
associated with an individual and can be used to identify and contact that person.

        The cellphone number of a defendant is included at the following citations and we
respectfully request its redaction:

       Lawson Declaration, Exhibit 1 at USAO_068, USAO_074, USAO_075, USAO_083;

       Lawson Declaration, Exhibit 3 at USAO_000569, USAO_000571, USAO_000573,
        USAO_000574, USAO_000575, USAO_000585, USAO_000586, USAO_000594,
        USAO_000597;

       Lawson Declaration, Exhibit 5 at USAO_115, USAO_122, USAO_124, USAO_126,
        USAO_139, USAO_145, USAO_146.

                                       *                *                 *




1
 Exhibit 4 contains black box redactions that were original to the document, as produced by the Government. To
distinguish those from Mr. Del Villar’s requested redactions, we have marked all requested redactions with the word
“Redacted” in red.
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       Pursuant to Rules 3 (A) (ii) and (iii) of Your Honor’s Individual Practices in Criminal
Cases, we will file the redacted versions of the documents on ECF and provide Chambers with a
copy of the documents with redactions identified.

       Thank you for the Court’s consideration of this request. We are available to provide any
additional information the Court requires.


                                                            Respectfully submitted,



                                                            /s/ Samantha Lawson
                                                            Samantha Lawson
                                                            Counsel for Michael Del Villar




cc:     Brett Kalikow, Assistant United States Attorney (via e-mail)
        Toni Messina, esq. (via e-mail)




Application GRANTED.

SO ORDERED.


                              11/5/2020

HON. VALERIE CAPRONI
UNITED STATES DISTRICT JUDGE
